       Case 4:20-cv-00329-JAJ-HCA Document 9 Filed 12/28/20 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF IOWA


 JESSICA BENSLEY,                                          Case No. 4:20-cv-00329-JAJ-HCA

        Plaintiff,
 vs.
                                                   PAUL PATE’S PRE-ANSWER MOTION
                                                   TO DISMISS AND REQUEST TO TAKE
 PAUL PATE, Iowa Secretary of State, and
                                                           JUDICIAL NOTICE
 JAMIE FITZGERALD, Polk County Auditor,

        Defendants.


       COMES NOW Defendant Paul Pate in his individual capacity and as Iowa Secretary of

State moves pursuant to Federal Rule of Civil Procedure 12(b)(6) to dismiss Plaintiff Jessica

Bensley’s complaint for failure to state a claim upon which relief may be granted:

       1.      Plaintiff brings this 42 U.S.C. § 1983 action and alleges that Defendant Pate

violated her right to vote in the 2018 General Election.

       2.      This court has subject matter jurisdiction pursuant to 28 U.S.C. §1331.

       3.      Defendant took no action under color of state law as required for § 1983 liability.

       4.      Plaintiff has not stated a claim upon which relief may be granted, and the Court

should dismiss the complaint. Fed. R. Civ. P. 12(b)(6).

       5.      Alternatively, Defendant’s actions were not violations of constitutional law.

Defendant thus has qualified immunity and the court should dismiss the claims against him in his

individual capacity. Morgan v. Robinson, 920 F.3d 521, 523 (8th Cir. 2019).

       6.      The Court should dismiss the claims for damages against the Defendant in his

official capacity because the Defendant has sovereign immunity. Klingler v. Dir., Dep’t of

Revenue, 281 F.3d 776, 777 (8th Cir. 2002).
          Case 4:20-cv-00329-JAJ-HCA Document 9 Filed 12/28/20 Page 2 of 2




       7.      The reasons supporting the motion are set forth in detail in the brief supporting the

motion.

       Accordingly, Defendant Paul Pate respectfully requests that the Court dismiss Plaintiff’s

complaint for failing to state any claim upon which relief may be granted. Alternatively,

Defendant requests that the Court dismiss him from this action in his individual capacity and

dismiss Plaintiff’s claims against him for damages in his official capacity.

                                                       Respectfully submitted,

                                                       THOMAS J. MILLER
                                                       Attorney General of Iowa

                                                       /s/ Jeffrey S. Thompson
                                                       JEFFREY S. THOMPSON
                                                       Solicitor General
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                                                       jeffrey.thompson@ag.iowa.gov
                                                       ATTORNEY FOR DEFENDANT PATE

                                                                          PROOF OF SERVICE

                                                    The undersigned certifies that the foregoing instrument was served
                                                  upon each of the persons identified as receiving a copy by delivery in the
                                                  following manner on December 28, 2020:

                                                           U.S. Mail                         FAX
                                                           Hand Delivery                     Overnight Courier
                                                           Federal Express                   Other
                                                           CM/ECF

                                                  Signature: /s/ Audra Drish
